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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-00171-NYW-MEH

  SHANE SCOFIELD,

         Plaintiff,

  v.

  GALLANT LAW GROUP, PC,

        Defendant.
  ______________________________________________________________________________

                                    MINUTE ORDER
  ______________________________________________________________________________
  Entered by Michael E. Hegarty, United States Magistrate Judge, on March 9, 2023.

        For good cause shown, Defendant’s “Unopposed Motion for an Extension of Time to
  Answer” [filed March 8, 2023; ECF 13] is granted. Defendant shall respond to Plaintiff’s
  Complaint on or before March 29, 2023.

           Accordingly, the Fed. R. Civ. P. 16(b) scheduling conference currently set for March 22,
  2023 is vacated and rescheduled for April 25, 2023 at 9:45 a.m., in Courtroom A-501, on the
  fifth floor of the Alfred A. Arraj United States Courthouse located at 901 19th Street, Denver,
  Colorado.

         If this date is not convenient, the parties shall confer and contact my Chambers by email to
  obtain an alternate date. All parties must be copied on the email if they agree to change the
  conference date; otherwise, any party seeking to change the conference date must file a motion.
  Absent exceptional circumstances, no request for rescheduling will be entertained unless made
  five business days prior to the date of the conference.

         Litigants and counsel whose offices are located outside of the Denver metropolitan area or
  who cannot reasonably make a personal appearance may appear at scheduling conferences by
  telephone. Please contact Chambers at (303) 844-4507 at least two business days prior to the
  scheduling conference to arrange appearance by telephone. Litigants and counsel appearing by
  telephone must ensure that the proposed Scheduling Order is filed electronically and submitted to
  Chambers by email no later than five business days prior to the scheduling conference, in
  accordance with the instructions in this minute order.

          It is further ORDERED that counsel for the parties and any unrepresented non-prisoner
  parties in this case are to hold a meeting in accordance with Fed. R. Civ. P. 26(f) on or before
  April 11, 2023 and jointly prepare a proposed Scheduling Order. Pursuant to Fed. R. Civ. P. 26(d),
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  only requests pursuant to Fed. R. Civ. P. 34 may be submitted before the Rule 26(f) meeting, unless
  otherwise ordered or directed by the Court. Pursuant to Fed. R. Civ. P. 34(b)(2)(A), responses to
  such discovery requests must be submitted no later than 30 days after the Rule 26(f) meeting,
  unless the parties stipulate or the Court orders otherwise.

        The parties shall prepare the proposed Scheduling Order in accordance with the form that
  may be downloaded from the Forms section of the Court’s website, www.cod.uscourts.gov.

         The parties shall file the proposed Scheduling Order with the Clerk’s Office, and in
  accordance with District of Colorado Electronic Case Filing (“ECF”) Procedures, no later than
  five business days prior to the scheduling conference. The proposed Scheduling Order is also
  to be submitted in Word format by email to Magistrate Judge Hegarty at
  hegarty_chambers@cod.uscourts.gov.

          Parties not participating in ECF shall file their proposed Scheduling Order on paper with
  the clerk’s office. However, if any party in this case is participating in ECF, it is the responsibility
  of that party to file the proposed scheduling order pursuant to the District of Colorado ECF
  Procedures.

         Finally, the parties or counsel attending the scheduling conference should be prepared to
  informally discuss the case to determine whether early alternative dispute resolution is appropriate.
  There is no requirement to submit confidential position statements/letters to the Court at the
  scheduling conference nor to have the parties present.

         Any out-of-state counsel shall comply with D.C.Colo.LAttyR 3 prior to the scheduling
  conference.

         The parties are further advised that they shall not assume that the Court will grant the relief
  requested in any motion. Failure to appear at a court-ordered conference or to comply with a court-
  ordered deadline which has not be vacated by the Court may result in the imposition of sanctions.

          In addition, before filing a motion relating to a discovery dispute, the movant must
  request a conference with the Court by submitting an email, copied to all parties, to
  hegarty_chambers@cod.uscourts.gov. See Fed. R. Civ. P. 16, cmt. 2015 Amendment. The Court
  will determine at the conference whether to grant the movant leave to file the motion.

         Anyone seeking entry into the Alfred A. Arraj United States Courthouse will be
  required to show a valid photo identification. See D.C.Colo.LCivR 83.2(b).




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